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                       Exhibit 2
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                                    UNITED STATES OF AMERICA
                                  DEPARTMENT OF THE TREASURY
                             FINANCIAL CRIMES ENFORCEMENT NETWORK


IN THE MATTER OF:                                           )
                                                            )
                                                            )
                                                            )         Number 2005-2
 THE FEDERAL BRANCH OF                                      )
 ARAB BANK PLC                                              )
 NEW YORK, NEW YORK                                         )


                                   ASSESSMENT OF CIVIL MONEY PENALTY


 I.            INTRODUCTION

        The Secretary of the United States Department of the Treasury has delegated to the
 Director of the Financial Crimes Enforcement Network the authority to determine whether a
 financial institution has violated the Bank Secrecy Act and the regulations issued pursuant to that
 Act,l and what, if any, sanction is appropriate.

               In order to resolve this matter, and only for that purpose, the Federal Branch of Arab
 BankpIc,New York,NewYork("ArabBank- NewYork")has enteredinto a CONSENTTO
 THE ASSESSMENT OF CIVIL MONEY PENALTY ("CONSENT") dated August 17, 2005,
 without admitting or denying the determinations by the Financial Crimes Enforcement Network,
 as described in Sections III and IV below, except as to jurisdiction in Section II below, which is
 admitted.

       The CONSENT is incorporated into this ASSESSMENT OF CIVIL MONEY PENALTY
 ("ASSESSMENT") by this reference.

 II.           JURISDICTION

        Arab Bank is a public shareholding company and banking institution, with headquarters
  in Amman, the capital city of the Hashemite Kingdom of Jordan. Arab Bank has approximately
 400 branches,offices,and subsidiaries- membersof the ArabBankGroup- in thirtycountries.
 The Arab Bank Group employs approximately 7,500 people and provides retail, private,
 corporate, correspondent, and other banking services to numerous businesses, organizations,
 institutions, and individuals in the Middle East and throughout the world. As of December 31,
 2004, the Arab Bank Group had consolidated total assets of $27 billion. For the year ending
 December 31, 2004, the Arab Bank Group had consolidated net income of $319 million. The
 Arab Bank Group is a leading provider of financial services in the Middle East and North Africa.

                I 31 D.S.C. §§ 5311 s:!~.   and 31 C.F.R. Part 103.
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        Arab Bank - New York is a branch of Arab Bank in the United States, and a member of
the Arab Bank Group. Arab Bank - New York received a license from the Office of the
Comptroller of the Currency in 1983. The Office of the Comptroller of the Currency examines
Arab Bank - New York for compliance with the Bank Secrecy Act and its implementing
regulations, and for compliance with similar rules under Title 12 of the United States Code.

        At all relevant times, Arab Bank - New York was a "fmancial institution" and a "bank"
within the meaning of the Bank Secrecy Act and the regulations issued pursuant to that Act.2

III.    DETERMINATIONS

        A.       Summary

        Arab Bank - New York is a member of the Arab Bank Group located in the United
States.3 Arab Bank - New York served as a clearing institution for funds transfers in United
States dollars. The funds transfers occurred on a global basis.

       Arab Bank - New York served as an intermediary institution. Arab Bank - New York
performed the clearing function for members of the Arab Bank Group in foreignjurisdictions
and domestic and foreign correspondent institutions independent of the Arab Bank Group. In
addition, as a member of the Clearing House Interbank Payments System (CHIPS) and other
 settlementsystemsin the UnitedStates,ArabBank- NewYorkclearedfundstransfers
involving major commercial banks in the United States. None of the originators and
beneficiaries in funds transfers that Arab Bank - New York cleared as an intermediary institution
held accounts at Arab Bank - New York.

       Arab Bank - New York cleared funds transfers from originators with accounts at
members of the Arab Bank Group in foreignjurisdictions, to beneficiaries with accounts at the
same or other members of the Arab Bank Group in foreignjurisdictions. Similarly, Arab Bank-
New York cleared funds transfers for originators and beneficiaries with accounts at
correspondent institutions.

        Arab Bank - New York cleared funds transfers from originators with accounts at
members of settlement systems in the United States, to beneficiaries with accounts at
correspondent institutions or members of the Arab Bank Group in foreignjurisdictions. Arab
Bank - New York also cleared funds transfers that flowed in the opposite direction - from
originators with accounts at correspondent institutions or members of the Arab Bank Group in


        231 V.S.C. § 5312(a)(2) and 31 C.F.R. § 103.11.

         3Branchesand subsidiaries of Arab Bank in foreignjurisdictions held correspondent accounts at Arab Bank
- New York. For purposes of the Bank Secrecy Act, a "correspondent account" includes "a formal banking or
business relationship... established to make payments or other disbursements on behalf of a foreign bank, or to
handle other financial transactions related to the foreign bank." 31 C.F.R. § 103.175(d). Branches and subsidiaries
of Arab Bank in foreignjurisdictions are "foreign banks" for purposes of the Bank Secrecy Act. See 31 C.F.R. §
103.11(0).
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foreign jurisdictions, to beneficiaries with accounts at members of settlement systems in the
United States.

        On average,ArabBank- New York processed 500,000 funds transfers per year. 4 The
customer base and geographic locations of the Arab Bank Group and correspondent institutions,
and the volume of funds transfers that Arab Bank - New York cleared, posed heightened risks of
money laundering and terrorist financing. An investigationby the Financial Crimes
Enforcement Network revealed that Arab Bank - New York failed to apply an adequate system
of internal controls to the clearing of funds transfers.5 The investigation also revealed that Arab
Bank - New Yorkfailedto conductadequateindependenttestingto allowfor the timely
identification and correction of Bank Secrecy Act compliance failures. These failures in internal
controls and independent testing led, in turn, to a failure on the part of Arab Bank - New York to
identify and report suspicious transactions in a timely manner. The failures of Arab Bank - New
York to comply with the Bank Secrecy Act and the regulations issued pursuant to that Act were
significant.

     On February 8, 2005, the Office of the Comptroller of the Currency and Arab Bank-
New York entered into a Consent Order. On February 24,2005, the Office of the Comptroller of
the Currencyand ArabBank- NewYorkamendedthe ConsentOrder. The Officeof the
Comptroller of the Currency determined that Arab Bank - New York violated 12 C.F.R. §§ 21.11
and 21.21. Arab Bank - New York entered into the original and amended Consent Order
without admitting or denying the determinations by the Office of the Comptroller of the
Currency. The original and amended Consent Order imposed restrictions on the processing of
funds transfers, and the amended Consent Order required the development and implementation
of a plan for conversion from a federal branch to a federal agency.6

         B.       Violations of the Requirement to Implement an Anti-Money Laundering Program

         The FinancialCrimesEnforcementNetworkhas determinedthatArabBank - New York
violated the anti-money laundering proram requirements of the Bank Secrecy Act and the
regulations issued pursuant to that Act. A federal branch of a foreign bank must implement an
anti-money laundering program that conforms with rules of the Office of the Comptroller of the
Currency. Since 1987, the Office of the Comptroller of the Currency has required a program
"reasonably designed to assure and monitor compliance" with reporting and record keeping
requirements under the Bank Secrecy Act.8 Reporting requirements under the Bank Secrecy Act

           4Arab Bank - New York did process funds transfers for originators or beneficiaries with accounts at Arab
Bank - New York. Arab Bank - New York served as the originating or beneficiary institution - and not the clearing
institution and an intermediary institution - in these funds transfers.

          5The Financial Crimes Enforcement Network based the investigation, in part, on a separate investigation by
the Office of the Comptroller of the Currency.

         ~e   Consent and this Assessment remain binding on Arab Bank - New York upon its conversion to a
federal agency, and all references to Arab Bank - New York encompass that entity in its subsequent capacity as a
federal agency.

         731D.S.C. § 5318(h)(l) and 31 C.F.R. § 103.120. These requirements became effective on April 24, 2002.
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include the requirement to report suspicious transactions. An anti-money laundering program
must contain the following elements: (1) a system of internal controls; (2) independent testing for
compliance; (3) the designation of an individual, or individuals, to coordinate and monitor day-
to-day compliance; and (4) training of appropriate personnel.9

                1. Internal Controls

      Arab Bank - New York failed to implement an adequate system of internal controls to
comply with the Bank Secrecy Act and manage the risks of money laundering and terrorist
fmancing involving funds transfers for originators and beneficiaries without accounts at Arab
Bank - New York. ArabBank- NewYorkservedas a clearinginstitutionfor a substantial
volume of funds transfers in United States dollars. The Arab Bank Group and a number of
correspondent institutions operated in jurisdictions that posed heightened risks of money
laundering and terrorist financing.

        Nevertheless, Arab Bank - New York established inappropriate limitations on the scope
of systems and controls to comply with the Bank Secrecy Act and manage the risks of money
laundering and terrorist financing. Arab Bank - New York focused on direct customers of Arab
Bank- NewYork,as opposedto originatorsandbeneficiarieswithoutaccountsat ArabBank -
New York. Arab Bank - New York extended transaction monitoring and review to only those
individualsand entitiesthatArabBank - NewYorkviewedas directcustomersof ArabBank-
New York. The Bank Secrecy Act requires a program reasonably designed to ensure compliance
with, among other things, the requirement to report suspicious transactions. The requirement to
report suspicious transactions applies to transactions "conducted or attempted by, at, or through"
Arab Bank - New York,regardlessof whetherthe transactionsinvolvedirectcustomersof Arab
Bank - New York.

        These limitations resulted in certain failures of internal controls at Arab Bank - New
York. First, Arab Bank - New York failed to monitor, for potentially suspicious activity by
originators and beneficiaries without accounts at Arab Bank - New York, funds transfers that
Arab Bank - New York cleared as an intermediary institution. In fact, records of Arab Bank-
New York indicate that no monitoring of these funds transfers occurred before June 2002.
Afterwards,ArabBank - New York conducted manual reviews of spreadsheets containing
information on these funds transfers. However, given the volume of activity, manual review did
not - and could not - adequately detect suspicious transactions.

        Effective monitoring of these funds transfers required automation. In 2000, Arab Bank -
New York decided to develop an automated monitoring system. To use the system effectively,
Arab Bank - New York needed to implement procedures enabling the system to capture funds
transfers that displayed indicia of suspicious activity by originators and beneficiaries in funds
transfersArab Bank- NewYorkcleared,includingproceduresfor incorporating- to the extent
appropriateandpractical- existing identifying and other information on the originators and
beneficiaries. Arab Bank - New York failed to implement these procedures. The automated

        812C.F.R. § 21.21(b).

        912 C.F.R. § 21.21(c).
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monitoring system proved inadequate, in light of the heightened risks associated with funds
transfers flowing through Arab Bank - New York.

        In addition,ArabBank- New Yorkfailedto implementproceduresfor obtaining
relevant information, from fellow members of the Arab Bank Group or correspondent
institutions,on the potentiallysuspiciousnatureof fundstransfersclearedby ArabBank - New
York. Law enforcement or regulatory authorities had frozen or monitored accounts at members
of the Arab Bank Group. An adequate system of internal controls should have included
procedures for obtaining this information on a regular and timely basis, to the extent Arab Bank-
New York cleared funds transfers involving these accounts, and to the extent obtaining the
information proved appropriate and practical.

         For example, during the period from 2000 through 2004, management of an Arab Bank
affiliate in the Palestinian Territories received, from regulatory authorities in the Palestinian
Territories, orders that focused explicitly on funds transfers to a number of beneficiaries with
accounts at members of the Arab Bank Group in the Palestinian Territories. In addition,
regulatory authorities in the Palestinian Territories issued circulars containing the names of
suspected criminals and ordered institutions holding accounts of the suspected criminals to either
freeze the accounts or place the accounts on a watch list. Despite the heightened risk of illicit
activity, Arab Bank - New York failed to implement procedures for obtaining this type of
information from other members of the Arab Bank Group, to mitigate the risk and ensure
compliance with the Bank Secrecy Act.

        Moreover, Arab Bank - New York failed to implement procedures, commensurate with
the risks posed by its U.S. dollar clearing activities, for obtaining and utilizing publicly available
information, to monitor and identify funds transfers that warranted further investigation, or to
conductfollow-upinvestigationsif ArabBank- NewYorkhad identifiedanomaliesor
potentially suspicious funds transfers. Names similar to those of originators and beneficiaries in
funds transfers cleared by Arab Bank - New York appeared in credible sources of publicly
available information. The sources included Congressional testimony, indictments in the United
States, and well-publicized research and media reports. Due to the heightened risks of money
launderingand terroristfinancing,ArabBank- NewYorkshouldhavedevelopedproceduresfor
utilizing - to the extent appropriate and practical - publicly available information concerning
beneficiaries and originators, on a risk-assessed basis.

         Finally, in a few instances, manual review of records did lead to the detection of
anomalies. On thoseoccasionswhereArabBank- NewYorkrequestedinformationfromother
members of the Arab Bank Group, Arab Bank - New York often accepted generic replies,
indicatingmerelythatthe membersknewtheircustomers- repliesthat didnotprovidean
adequate basis for determining whether the funds transfers had a business or lawful purpose.10


          IOSee31 U.S.C. §5318(g) and 31 C.F.R. §103.l8(a)(2)(iii). Under these sections oflaw and regulation,
once Arab Bank - New York determines that a funds transfer "has no business or apparent lawful purpose or is not
the sort in which the particular customer would normally be expected to engage," the funds transfer would qualify as
"suspicious" if Arab Bank - New York knows of no reasonable explanation for the funds transfer after examining
the available facts, including background and possible purpose ofthe funds transfer.
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                2.       Independent Testing

       Arab Bank - New York failed to implement adequate procedures for independent testing.
The internal audit function at Arab Bank - New York failed to conduct testing sufficient to
assess the adequacy of the anti-money laundering program at Arab Bank - New York. Internal
audit failed to follow-up on, or convey in a timely manner, conclusions concerning the adequacy
of Bank Secrecy Act compliance at Arab Bank - New York. In fact, audit reports contained
inaccurate assessments of the extent to which Arab Bank - New York was implementing an
automated monitoring system for funds transfers that Arab Bank - New York cleared as an
intermediary institution.

       C.       Violations of the Requirement to Report Suspicious Transactions

        The Financial Crimes Enforcement Network has determined that Arab Bank - New York
violated the suspicious transaction reporting requirements of the Bank Secrecy Act and
regulations issued pursuant to that Act.II These reporting requirements impose an obligation on
financial institutions to report transactions that the institution "knows, suspects, or has reason to
suspect" are suspicious. The financial institution must report the transactions if the transactions
involve or aggregate to at least $5,000, and the transactions are "conducted or attempted by, at,
or through" the financial institution. A transaction is "suspicious" if the transaction: (1) involves
funds derived from illegal activities, or is conducted to disguise funds derived from illegal
activities; (2) is designed to evade the reporting or record keeping requirements of the Bank
Secrecy Act or regulations under the Bank Secrecy Act; or (3) has no business or apparent lawful
purpose or is not the sort in which the customer would normally be expected to engage, and the
financial institution knows of no reasonable explanation for the transaction after examining the
available facts, including background and possible purpose of the transaction.12

        Financial institutions must report suspicious transactions by filing suspicious activity
reports.13 In general, financial institutions must file a suspicious activity report no later than
thirty (30) calendar days after detecting facts that may constitute a basis for filing a suspicious
activity report. If no suspect was identified on the date of detection, a financial institution may
delay the filing for an additional thirty (30) calendar days, to identify a suspect. However, in no
event may the financial institution file a suspicious activity report more than sixty (60) calendar
days after the date of detection.14

         Arab Bank - New York failed to file a number of suspicious activity reports in a timely
manner. As stated, Arab Bank - New York served as a clearing institution for a substantial
volume of funds transfers in United States dollars. Arab Bank - New York cleared funds
transfers for originators or beneficiaries with accounts in jurisdictions that posed heightened risks

        1131U.S.C. § 5318(g) and 31 C.F.R. § 103.18.

        ]231C.F.R. § 103.18(a)(2)(i)through (iii).

        1331C.F.R. § 103.18(b )(2).

        1431C.F.R. § 103.18(b )(3).
                                                                                --   -         ---    n-_n_-


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of money laundering and terrorist financing. All of these funds transfers represented transactions
"conductedor attemptedby, at, or through"ArabBank- NewYork.                                                           .

        Arab Bank - New York failed to identify a number of potentially suspicious funds
transfers. Had Arab Bank - New York implemented an adequate, risk-commensurate anti-money
laundering program, identified certain funds transfers for further investigation, and performed an
appropriate investigation, Arab Bank - New York would have found that names similar to those
of originators and beneficiaries in funds transfers cleared by Arab Bank - New York appeared in
credible and publicly available sources of information, including Congressional testimony,
indictments in the United States, and well-publicized research and media reports, linking the
originators and beneficiaries to illicit activity. Some originators or beneficiaries appeared in
subpoenasor otherlegalprocessthat ArabBank- NewYorkreceivedfromlaw enforcementin
the United States.15 Systems and controls for ensuring compliance with the requirement to report
suspicious transactions should have included procedures for obtaining this information, to the
extent appropriate and practical.

        For example, during the period from 2001 through 2004, Arab Bank - New York cleared
funds transfers for originators or beneficiaries that the Office of Foreign Assets Control or the
Department of State later designated as "specially designated terrorists," "specially designated
global terrorists," or "foreign terrorist organizations." At the time of the funds transfers, neither
the Office of Foreign Assets Control nor the Department of State had designated the originators
or beneficiaries. Arab Bank - New York largely complied with the requirement to cease clearing
funds transfers once the Office of Foreign Assets Control designated an entity as a "specially
designated terrorist," "specially designated global terrorist," or "foreign terrorist organization."

        However, designations of individuals and entities as terrorists by the United States
Government provide critical information for fmancial institutions to use in assessing terrorist
financing risk. Once a designation occurred, Arab Bank - New York failed to review recent
activity, occurring prior to the designation and associated with the designated entities, to identify
potentially suspicious activity. Had such a review been conducted, it would have uncovered
originatorsandbeneficiaries- withpossibleties to the designatedentities- thathad recently
engagedin potentiallysuspiciousactivity. ArabBank- New York failed to review information
in its possession that would have shown it was clearing funds transfers for individuals and
entities dealing with subsequently designated terrorists and terrorist organizations, failed to
analyze this information, and failed to file suspicious activity reports.

       Arab Bank - New York did not file the majority of its suspicious activity reports
referencing terrorist fmancing until after the Office of Comptroller of the Currency commenced a
review of its funds transfer activity in July 2004. An adequate anti-money laundering program
would have allowed Arab Bank - New York to file suspicious activity reports in a timely
marmer.



          15While a subpoena from law enforcement does not represent, in and of itself, cause for filing a suspicious
activity report, the subpoena is an important piece of information that places a financial institution on notice of the
need to conduct a further review of accounts or activity involving the subject of the subpoena to identify potentially
suspicious activity. Arab Bank - New York failed to conduct such reviews.
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IV.    CIVIL MONEY PENALTY

       Under the authority of the Bank Secrecy Act and the regulations issued pursuant to that
Act,16the Financial Crimes Enforcement Network has determined that a civil money penalty is
due for the violations of the Bank Secrecy Act and the regulations issued pursuant to that Act
described in this Assessment.

       Based on the seriousness of the violations at issue in this matter, and the financial
resources available to Arab Bank - New York, the Financial Crimes Enforcement Network has
determined that the appropriate penalty in this matter is $24,000,000.00.

V.     CONSENT TO ASSESSMENT

        To resolve this matter, and only for that purpose, Arab Bank - New York, without
admitting or denying either the facts or determinations described in Sections III and IV above,
except as to jurisdiction in Section II, which is admitted, consents to the assessment of a civil
money penalty against it in the sum of $24,000,000.00. The assessment shall be concurrent with
the assessment of a civil money penalty, in the amount of $24,000,000.00, by the Office of the
Comptroller of the Currency, and shall be satisfied by one payment of $24,000,000.00 to the
Department of the Treasury.

       Arab Bank - New York agrees to pay the amount of $24,000,000.00 within five (5)
business days of this ASSESSMENT.        Such payment shall be:

       a.      Made by certified check, bank cashier's check, bank money order, or wire;

       b.      Made payable to the United States Department of the Treasury;

       c.      Hand-delivered or sent by overnight mail to the Financial Crimes Enforcement
               Network, Attention: Associate Director, Administration & Communications
               Division, 2070 Chain Bridge Road, Suite 200, Vienna, Virginia 22182; and

       d.      Submitted under a cover letter, which references the caption and file number in
               this matter.

       Arab Bank- New York recognizes and states that it enters into the CONSENT freely and
voluntarily and that no offers, promises, or inducements of any nature whatsoever have been
made by the Financial Crimes Enforcement Network or any employee, agent, or representative
of the Financial Crimes Enforcement Network to induce Arab Bank - New York to enter into the
CONSENT, except for those specified in the CONSENT.

       Arab Bank - NewYorkunderstandsandagreesthatthe CONSENTembodiesthe entire
agreement between Arab Bank - New York and the Financial Crimes Enforcement Network
relating to this enforcement matter only, as described in Section IIIabove. Arab Bank - New
York further understands and agrees that there are no express or implied promises,

       1631D.S.C. § 5321 and3! C.F.R. § 103.57.
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 representations,or agreementsbetweenArabBank- NewYorkand the FinancialCrimes
 Enforcement Network other than those expressly set forth or referred to in the CONSENT and
 that nothing in the CONSENT or in this ASSESSMENT is binding on any other agency of
 government, whether federal, state, or local.

 VI.    RELEASE

        Arab Bank - NewYorkunderstandsthat executionof the CONSENT,and compliance
 with the terms of this ASSESSMENT and the CONSENT, constitute a complete settlement of
 civil liability for the violations of the Bank Secrecy Act and regulations issued pursuant to that
 Act described in the CONSENT and this ASSESSMENT.



                                By:
                                           W'litn ~Director
                                           F~ial    Crimes Enforcement Network
                                           United States Department of the Treasury

                                Date:
